Case 2:97-cr-20153-.]DB Document 87 Filed 06/20/05 Page 1 of 2 Page|D 87

lN THE UNITED STATES DISTRICT COURT HLED 31'?",~___ Dp
FOR THE WESTERN DISTRICT OF TENNESSEE 0 nw '”
WESTERN DIVISION SJUHEO AH!U'SL
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UNITED STATES OF AMERICA, WfijR(-;§f.l.;§;\$.¢ ¢`TP' CT
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s~ 18
Plaintiff,

EPHEE A. coHEN, a/k/a,
MARK ALLEN THoMPsoN

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)
)
vs. ) Cr. No. Ql_-AJ_J___E>_E>_;_B_
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)
Defendant. )

ORDER GRANTING GOVERNMENT" S MOTION TO CONTINUE REPORT DATE
This cause came before the Court upon the qovernment’s written
motion to continue the report date in this matter currently set for
2:00 p.m.,r Thursday, June 23, 2005. lt appears to the Court based
upon the report as stated in the go§ernment’s motion, that the
government's motion is well taken and should be granted. The clerk
of the court is therefore directed to reset the report in this

matter for approximately 90 days and to notify government counsel

of the new date -T-\l ¢\ Wo-&x\\k-P~STHQ;T‘-“QA'K ‘NW-Qup,¢“q-L.q h wm
v%‘lldz

SO ORDERED this f-? day of ne, 2005.

 

.`DA IEL BREEN \\
NITE sTATEs DISTRICT JUDGE

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UNITED sTATE D"ISIC COURT - WESERNT D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:97-CR-20153 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

